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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Sheena Medrano
                                         Plaintiff,
v.                                                        Case No.: 1:15−cv−10950
                                                          Honorable Andrea R. Wood
Account Discovery Systems, LLC
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 24, 2016:


        MINUTE entry before the Honorable Andrea R. Wood: The parties having filed a
stipulation of dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) [25], this case is
dismissed with prejudice and without attorneys' fees and costs. All pending hearing dates
and motions are stricken. Civil case terminated. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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